                                                                   Case 8:16-bk-10424-SC            Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34       Desc
                                                                                                     Main Document    Page 1 of 42


                                                                   1   Jeremy V. Richards (CA Bar No. 102300)
                                                                       Linda F. Cantor (CA Bar No. 153762)
                                                                   2   Victoria A. Newmark (CA Bar No. 183581)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, California 90067
                                                                   4   Telephone: 310/277-6910
                                                                   5   Facsimile: 310/201-0760
                                                                       E-mail:       jrichards@pszjlaw.com
                                                                   6                 lcantor@pszjlaw.com
                                                                                     vnewmark@pszjlaw.com
                                                                   7
                                                                       Attorneys for California Hispanic Commission on Alcohol
                                                                   8   and Drug Abuse, Debtor and Debtor-in-Possession
                                                                   9

                                                                  10                                UNITED STATES BANKRUPTCY COURT
                                                                  11                                 CENTRAL DISTRICT OF CALIFORNIA
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                            SANTA ANA DIVISION
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       In re:                                         Case No.: 8:16-bk-10424-SC
                                                                  14                                                  Chapter 11
                                                                       CALIFORNIA HISPANIC COMMISSION
                                                                  15   ON ALCOHOL AND DRUG ABUSE,                     FIRST OMNIBUS MOTION FOR ORDER
                                                                       INC.                                           DISALLOWING CLAIMS THAT HAVE BEEN
                                                                  16                                                  PAID OR OTHERWISE SATISFIED;
                                                                                                      Debtor.         MEMORANDUM OF POINTS AND
                                                                  17                                                  AUTHORITIES; DECLARATIONS OF JAMES
                                                                                                                      HERNANDEZ AND LINDA F. CANTOR
                                                                  18
                                                                                                                      Hearing Date:
                                                                  19                                                  Date:        September 29, 2016
                                                                                                                      Time:        11:00 a.m.
                                                                  20                                                  Place:       U.S. Bankruptcy Court
                                                                                                                                   411 West Fourth Street
                                                                  21                                                               Courtroom 5C
                                                                                                                                   Santa Ana, CA 92701-4593
                                                                  22
                                                                                                                      Judge: Hon. Scott Clarkson
                                                                  23
                                                                                                                      This Motion Affects the Scheduled Claims of the
                                                                  24                                                  Following Claimants:
                                                                  25                                                  Abigal Barajas
                                                                                                                      Abila
                                                                  26                                                  Aida Yanson
                                                                                                                      Albert Perez
                                                                  27                                                  Alexander Molina
                                                                  28


                                                                       DOCS_LA:300678.2 12548/001                       1
                                                                   Case 8:16-bk-10424-SC            Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                                                                                                     Main Document    Page 2 of 42


                                                                   1                                                 Alexis Lee
                                                                                                                     Alliance Member Services
                                                                   2                                                 Alma Bretado
                                                                                                                     American Inn & Suites
                                                                   3                                                 Bannia Bernal
                                                                                                                     Bells Garden Manor
                                                                   4                                                 Blue Shield Of California
                                                                                                                     Brenda Morales
                                                                   5                                                 Claudia Angel
                                                                                                                     Claudia De Casas
                                                                   6                                                 Colonial Life
                                                                                                                     Danny Gutierrez
                                                                   7                                                 Diane Soto
                                                                                                                     Dr. David Anaya Sanchez
                                                                   8                                                 Eden Manor
                                                                                                                     Fort Dearborn Life Insurance
                                                                   9                                                 Golden Manor Board
                                                                                                                     Gualalupe Vital
                                                                  10                                                 Helen Aparicio
                                                                                                                     Hi-Tech Services
                                                                  11                                                 Jeannette Padilla-Smith
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                     Jennifer Chan
                                                                  12                                                 Jennifer Romero
                                                                                                                     Jose Yair Torres
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                 Karina Lopez Gomez
                                           ATTORNEYS AT LAW




                                                                                                                     Karla Vanessa Mazariego
                                                                  14                                                 La Regional Foodbank
                                                                                                                     Landmark Healthplan
                                                                  15                                                 Leticia Montes
                                                                                                                     Lincoln Nat'l Life Insurance
                                                                  16                                                 Marcela Rivera
                                                                                                                     Maria Trujillo
                                                                  17                                                 Martha Coria
                                                                                                                     Mayra Guerrero
                                                                  18                                                 Michelle Hoaglin
                                                                                                                     Nailya Kutzhahova
                                                                  19                                                 Nancy Perez
                                                                                                                     Nancy Rivera
                                                                  20                                                 Natasha Medina
                                                                                                                     Nuvia Montes
                                                                  21                                                 Nina's Kitchen
                                                                                                                     Pasada (Pasadena) Hotel
                                                                  22                                                 Pico Rivera Gardens
                                                                                                                     Premier Access Insurance Co.
                                                                  23                                                 Premier Access Insurance Co.
                                                                                                                     Rocio Ojeda
                                                                  24                                                 Ruben Raya
                                                                                                                     Second Harvest Food Bank
                                                                  25                                                 Sierra Inn
                                                                                                                     Teresa Cabral
                                                                  26                                                 Tibis House Inc.
                                                                                                                     Transamerica
                                                                  27                                                 Victor Alanis

                                                                  28


                                                                       DOCS_LA:300678.2 12548/001                      2
                                                                   Case 8:16-bk-10424-SC              Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                          Desc
                                                                                                       Main Document    Page 3 of 42


                                                                   1   TO THE HONORABLE SCOTT CLARKSON, UNITED STATES BANKRUPTCY JUDGE,

                                                                   2   THE CLAIMANTS LISTED ABOVE, THE OFFICE OF THE UNITED STATES TRUSTEE

                                                                   3   AND PARTIES REQUESTING NOTICE:

                                                                   4             PLEASE TAKE NOTICE THAT THIS MOTION SEEKS DISALLOWANCE OF

                                                                   5   CERTAIN CLAIMS SCHEDULED BY THE DEBTOR IN ITS AMENDED SCHEDULES

                                                                   6   OF ASSETS AND LIABILITIES. ACCORDING TO THE DEBTOR’S BOOKS AND

                                                                   7   RECORDS, THE CLAIMS HAVE BEEN PAID IN FULL.

                                                                   8             PLEASE TAKE NOTICE that pursuant to sections 502 and 507(a)(4) of title 11 of the

                                                                   9   United States Code (the “Bankruptcy Code”1), Rule 3007 of the Federal Rules of Bankruptcy

                                                                  10   Procedure (the “Bankruptcy Rules”) and Rule 3007-1 of the Local Bankruptcy Rules of the United

                                                                  11   States Bankruptcy Court for the Central District of California (the “LBR”), California Hispanic
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Commission on Alcohol and Drug Abuse, Inc., the debtor and debtor in possession (“Debtor”),
                                        LOS ANGELES, CALIFORNIA




                                                                  13   hereby moves (the “Motion”) the Court for an order disallowing the scheduled claims listed above
                                           ATTORNEYS AT LAW




                                                                  14   (the “Claims”) on the grounds that the amounts reflected in the Claims have been paid in full. The

                                                                  15   Claims were paid after the Petition Date in accordance with the (1) Order Authorizing the Debtor to

                                                                  16   Honor Prepetition Employee Benefits Programs (“Employee Benefits Order”) [Docket No. 91]; and

                                                                  17   the (2) Order Authorizing the Debtor to Pay Critical Vendor Claims (the “Critical Vendor Order”)

                                                                  18   [Docket No. 92] (collectively the “Court Orders”).

                                                                  19             All of the scheduled Claims are listed on Schedule F of the Debtor’s Amended Schedules of

                                                                  20   Assets and Liabilities (the “Schedules”) [Docket No. 114]. A copy of the page which lists the

                                                                  21   individual Claim for each claimant is attached as Exhibit B to the Notice of Objection being served

                                                                  22   on such individual Claimant.

                                                                  23             PLEASE TAKE FURTHER NOTICE that the Motion is based on and supported by this

                                                                  24   Notice of Motion and Motion, the attached Memorandum of Points and Authorities, the Declarations

                                                                  25   of James Hernandez and Linda F. Cantor in support hereof, and the files and the record in this

                                                                  26   chapter 11 case.

                                                                  27

                                                                  28   1
                                                                           All references to “sections” herein are to sections of the Bankruptcy Code unless otherwise noted.


                                                                       DOCS_LA:300678.2 12548/001                                   3
                                                                   Case 8:16-bk-10424-SC            Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                Desc
                                                                                                     Main Document    Page 4 of 42


                                                                   1            PLEASE TAKE FURTHER NOTICE that any response or objection to the Motion

                                                                   2   (i) must be filed with the Court and served upon Debtor’s counsel at the address in the upper left

                                                                   3   hand corner of this Motion no later than 14 days prior to the date of hearing set forth above and

                                                                   4   (ii) must contain a written statement of all reasons the party opposes the relief requested in the

                                                                   5   Motion, and must include declarations and copies of all documentary evidence on which the

                                                                   6   objecting party intends to rely. Responses must be filed either electronically or at the following

                                                                   7   location:

                                                                   8                                             Clerk of the Court
                                                                                                           United States Bankruptcy Court
                                                                   9                                           411 West Fourth Street
                                                                                                                Santa Ana, CA 92701-4593
                                                                  10
                                                                                PLEASE TAKE FURTHER NOTICE that if a response or objection is not timely filed
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       with the Court as set forth above and is not served upon undersigned counsel, the Court may grant
                                                                  12
                                                                       the relief requested in the Motion without further notice or hearing.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                PLEASE TAKE FURTHER NOTICE that if a response or objection is timely filed and
                                                                  14
                                                                       served, the Court, in its discretion, may treat the initial hearing as a status conference if it determines
                                                                  15
                                                                       that the Motion involves issues of disputed fact or will require substantial time for presentation of
                                                                  16
                                                                       evidence or argument.
                                                                  17
                                                                                WHEREFORE, the Debtor respectfully requests that the Court enter an order (1) granting
                                                                  18
                                                                       the Motion; (2) disallowing the Claims in their entirety as having been paid or otherwise satisfied;
                                                                  19
                                                                       and (3) granting the Debtor such other and further relief as may be appropriate under the
                                                                  20
                                                                       circumstances.
                                                                  21

                                                                  22   Dated:      August 25, 2016                    PACHULSKI STANG ZIEHL & JONES LLP

                                                                  23

                                                                  24                                                  By        /s/ Linda F. Cantor
                                                                                                                                Linda F. Cantor (CA Bar No. 153762)
                                                                  25                                                            Attorneys for California Hispanic Commission
                                                                                                                                of Alcohol and Drug Abuse, Debtor and
                                                                  26                                                            Debtor in Possession
                                                                  27

                                                                  28


                                                                       DOCS_LA:300678.2 12548/001                           4
                                                                   Case 8:16-bk-10424-SC            Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                          Desc
                                                                                                     Main Document    Page 5 of 42


                                                                   1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                   2                                                            I.

                                                                   3                                                   BACKGROUND

                                                                   4   A.      The Bankruptcy Case, Jurisdiction and Venue

                                                                   5           On February 2, 2016 (the “Petition Date”), the Debtor filed a voluntary petition for relief

                                                                   6   under chapter 11 of the Bankruptcy Code (the “Case”). The Court has jurisdiction over this First

                                                                   7   Omnibus Motion for Order Disallowing Claims That Have Been Paid or Otherwise Satisfied (the

                                                                   8   “Motion”)2 pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C.

                                                                   9   § 157(b)(2). Venue of this matter is appropriate pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                                  10   B.      The Claims Bar Date

                                                                  11           On March 21, 2016, the Debtor filed its Amended Schedules (“Schedules”) [Docket 114] in
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   which it listed all claims owed by the Debtor to parties as of the Petition Date. On April 6, 2016 the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Court entered an Order setting June 15, 2016 (the "Claims Bar Date") [Docket 136] as the deadline
                                           ATTORNEYS AT LAW




                                                                  14   for filing prepetition claims (other than claims filed by governmental units, rejection damage claims

                                                                  15   and claims arising from the avoidance of transfers). The Claims Bar Date has passed and as of the

                                                                  16   filing of this Motion, 63 claims have been filed in this Case.

                                                                  17   C.      The Claims

                                                                  18           The Debtor and the Debtor’s professionals have been engaged in the process of reconciling

                                                                  19   the claims included in the Schedules and those filed against the Debtor in this Case. As part of that

                                                                  20   process, the Claims, the Debtor’s books and records related thereto and the orders entered in this

                                                                  21   Case were reviewed. It was determined that the Claims represent amounts that were paid and or

                                                                  22   otherwise satisfied after the Petition Date pursuant to either the Employee Benefits Order or the

                                                                  23   Critical Vendor Order.

                                                                  24

                                                                  25

                                                                  26

                                                                  27
                                                                       2
                                                                  28     Capitalized terms not otherwise defined in this Memorandum of Points and Authorities shall have the meaning given
                                                                       them in the Motion.

                                                                       DOCS_LA:300678.2 12548/001                                5
                                                                   Case 8:16-bk-10424-SC            Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34               Desc
                                                                                                     Main Document    Page 6 of 42


                                                                   1                                                        III.

                                                                   2                                                     ARGUMENT

                                                                   3   A.      Procedural Requirements for Objections to Claims

                                                                   4           Bankruptcy Rule 3007 governs the procedure for objections to claims and provides:

                                                                   5                    An objection to an allowance of a claim shall be in writing and filed.
                                                                                        A copy of the objection with notice of the hearing thereon shall be
                                                                   6                    mailed or otherwise delivered to the claimant, the debtor or debtor in
                                                                                        possession . . . at least thirty days prior to the hearing.
                                                                   7
                                                                       Fed. R. Bankr. P. 3007. Pursuant to Bankruptcy Rule 3007, a copy of the Motion was mailed to the
                                                                   8
                                                                       Claimants at the addresses listed on the Claims Register, and, if appropriate, on the Claimants’
                                                                   9
                                                                       attorney, at least thirty (30) days prior to the hearing date for consideration of the Motion.
                                                                  10
                                                                       Accordingly, the Debtor has complied with Bankruptcy Rule 3007.
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       B.      The Court Must Determine the Allowance of a Claim Subject to Objection
                                                                  12
                                                                               With certain exceptions, section 502(b) of the Bankruptcy Code requires, in relevant part,
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       that if a party in interest objects to a claim:
                                                                  14
                                                                                        the Court, after notice and a hearing, shall determine the amount of
                                                                  15                    such claim in lawful currency of the United States as of the date of the
                                                                                        filing of the petition, and shall allow such claim in such amount,
                                                                  16                    except to the extent that --
                                                                  17                    (1) such claim is unenforceable against the debtor and property of the
                                                                                        debtor, under any agreement or applicable law for a reason other than
                                                                  18                    because such claim is contingent or unmatured

                                                                  19    11 U.S.C. § 502(b)(1).

                                                                  20    C.     Claimant Has to Prove the Validity of the Claims by a Preponderance of the Evidence

                                                                  21           The Debtor has established through the declaration of James Hernandez, the President of the

                                                                  22   Debtor, that based upon the Debtor’s books and records all of the Claims, as reflected on Exhibit A

                                                                  23   have been paid and/or otherwise satisfied after the Petition Date pursuant to the Court Orders.

                                                                  24           If a Claimant contends that its respective Claim has not been satisfied, such Claimant has the

                                                                  25   burden of proving, by a preponderance of the evidence, that its respective Claim was not satisfied.

                                                                  26   Ashford v. Consolidated Pioneer Mortgage (In re Consolidated Pioneer Mortgage) 178 B.R. 222,

                                                                  27   226 (B.A.P. 9th Cir. 1995), aff'd 91 F.3d 151 (9th Cir. 1996). "[T]he ultimate burden of persuasion

                                                                  28   is always on the claimant." Holm, 931 F.2d, 620, 623 (9th Cir. 1991).


                                                                       DOCS_LA:300678.2 12548/001                            6
                                                                   Case 8:16-bk-10424-SC               Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                        Desc
                                                                                                        Main Document    Page 7 of 42


                                                                   1   D.        The Objection

                                                                   2             The Debtor has determined that all prepetition amounts3 owing to Claimants were satisfied

                                                                   3   after the Petition Date pursuant to the Court Orders. To prevent any possibility of double payment,

                                                                   4   the Debtor requests that the Court enter an order finding that the Claims listed above have been

                                                                   5   satisfied and ruling that they are thus disallowed in their entirety.

                                                                   6                                                                IV.

                                                                   7                                             RESERVATION OF RIGHTS

                                                                   8             The Debtor has not attempted to raise in this Motion each defense, counterclaim, or setoff

                                                                   9   that may apply to the Claims. If a response to this Motion is received, the Debtor reserves the right

                                                                  10   to amend, and supplement this Motion, or file additional objections to assert any defenses,

                                                                  11   counterclaims, and/or setoffs against the Claims. In all instances, the Debtor reserves the right to file
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   future objections or motions or to supplement this Motion as to the validity, amount, or status of the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Claims, upon different grounds than set forth herein or otherwise.
                                           ATTORNEYS AT LAW




                                                                  14                                                                V.

                                                                  15                                                       CONCLUSION

                                                                  16             For the reasons set forth herein, the Debtor respectfully requests that the Court enter an order:

                                                                  17   (a) granting the Motion; (b) disallowing the Claims in their entirety as having been satisfied; and

                                                                  18   (c) granting the Debtor such other and further relief as may be appropriate under the circumstances.

                                                                  19
                                                                       Dated: August 25, 2016                                  PACHULSKI STANG ZIEHL & JONES LLP
                                                                  20

                                                                  21

                                                                  22                                                           By         /s/ Linda F. Cantor
                                                                                                                                          Linda F. Cantor (CA Bar No. 153762)
                                                                  23                                                                      Attorneys for California Hispanic
                                                                                                                                          Commission of Alcohol and Drug Abuse,
                                                                  24                                                                      Debtor and Debtor in Possession

                                                                  25

                                                                  26

                                                                  27

                                                                  28
                                                                       3
                                                                           Prepetition amounts are those amounts that accrued against the Debtor prior to the Petition Date.

                                                                       DOCS_LA:300678.2 12548/001                                    7
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 8 of 42
                                                                   Case 8:16-bk-10424-SC            Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                 Desc
                                                                                                     Main Document    Page 9 of 42


                                                                   1                                  DECLARATION OF LINDA F. CANTOR

                                                                   2           I, Linda F. Cantor, declare as follows:

                                                                   3           1.        I am an attorney at law, duly licensed and entitled to practice before all courts in the

                                                                   4   State of California. I am a partner in the law firm of Pachulski Stang Ziehl & Jones LLP, counsel to

                                                                   5   the Debtor herein.

                                                                   6           2.        I have personal knowledge of the facts set forth herein and could and would

                                                                   7   competently testify thereto if called upon as a witness.

                                                                   8           3.        I make this Declaration in support of First Omnibus Motion of Debtor for Order

                                                                   9   Disallowing Claims That Have Been Paid or Otherwise Satisfied (the “Motion”). Capitalized terms

                                                                  10   not defined in this Declaration shall have the same meaning ascribed to them as set forth in the

                                                                  11   Motion.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           4.        Pursuant to Local Bankruptcy Rule 3007-1(a)(4)(B) attached hereto as Exhibit B are
                                        LOS ANGELES, CALIFORNIA




                                                                  13   true and correct copies of pages from the Debtor’s Schedules setting forth the Claims that are subject
                                           ATTORNEYS AT LAW




                                                                  14   to this Motion.

                                                                  15           I declare under penalty of perjury under the laws of the United States of America that the

                                                                  16   foregoing is true and correct.

                                                                  17           Executed on this 25th day of August, 2016, at Los Angeles, California.

                                                                  18

                                                                  19   .                                                                /s/ Linda F. Cantor
                                                                                                                                            Linda F. Cantor
                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:300678.2 12548/001                            9
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 10 of 42




                 EXHIBIT A
Case 8:16-bk-10424-SC             Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                   Desc
                                   Main Document    Page 11 of 42

   In re California Hispanic Commission on Alcohol and Drug Abuse
                 U.S.B.C. C.D. Cal. No. 8:16-bk-10424-SC

                                            Exhibit A
                               Claims Paid Pursuant to Court Orders

          Claimant                  Claim           Amount                     Basis Objection
Abigal Barajas                    Scheduled           $55.12    Paid pursuant to the Employee Benefits Order.
Abila                             Scheduled        $9,280.00    Paid pursuant to the Critical Vendor Order.
Aida Yanson                       Scheduled        $2,028.00    Paid pursuant to the Critical Vendor Order.
Albert Perez                      Scheduled           $18.79    Paid pursuant to the Employee Benefits Order.
Alexander Molina                  Scheduled           $25.82    Paid pursuant to the Employee Benefits Order.
Alexis Lee                        Scheduled           $63.53    Paid pursuant to the Employee Benefits Order.

Alliance Member Services          Scheduled       $11,776.53    Paid pursuant to the Critical Vendor Order.
Alma Bretado                      Scheduled           $83.04    Paid pursuant to the Employee Benefits Order.
American Inn & Suites             Scheduled        $4,200.00    Paid pursuant to the Critical Vendor Order.

Bannia Bernal                     Scheduled           $39.26    Paid pursuant to the Employee Benefits Order.
Bells Garden Manor                Scheduled          $853.00    Paid pursuant to the Critical Vendor Order.
Blue Shield of California                                       Paid pursuant to the Employee Benefits
                                  Scheduled       $92,354.19
                                                                Order. Prepetition amounts.
Brenda Morales                    Scheduled           $35.07    Paid pursuant to the Employee Benefits Order.

Claudia Angel                     Scheduled           $42.28    Paid pursuant to the Employee Benefits Order.
Claudia De Casas                  Scheduled            $4.96    Paid pursuant to the Employee Benefits Order.

Colonial Life Premium
                                  Scheduled        $4,330.77    Paid pursuant to the Employee Benefits Order.
Processing
Danny Gutierrez                   Scheduled           $27.75    Paid pursuant to the Employee Benefits Order.
Diane Soto                        Scheduled           $73.64    Paid pursuant to the Employee Benefits Order.
Dr. David Anaya Sanchez           Scheduled        $1,890.00    Paid pursuant to the Employee Benefits Order.
Eden Manor                        Scheduled        $2,942.92    Paid pursuant to the Critical Vendor Order.
Fort Dearborn Life Insurance      Scheduled          $407.02    Paid pursuant to the Employee Benefits Order.
Golden Manor Board                Scheduled          $923.00    Paid pursuant to the Critical Vendor Order.
Gualalupe Vital                   Scheduled          $308.02    Paid pursuant to the Employee Benefits Order.
Helen Aparicio                    Scheduled           $21.56    Paid pursuant to the Employee Benefits Order.
Hi-Tech Services                  Scheduled         $5,950.00   Paid pursuant to the Employee Benefits Order.
Jeannette Padilla-Smith           Scheduled           $40.74    Paid pursuant to the Employee Benefits Order.


DOCS_LA:300278.3 12548/001                    Page 1 of Exhibit A
Case 8:16-bk-10424-SC          Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                    Desc
                                Main Document    Page 12 of 42

             Claimant            Claim           Amount                        Basis Objection
Jennifer Chan                  Scheduled           $79.88    Paid pursuant to the Employee Benefits Order.
Jennifer Romero                Scheduled           $57.46    Paid pursuant to the Employee Benefits Order.
Jose Yair Torres               Scheduled           $83.58    Paid pursuant to the Employee Benefits Order.
Karina Lopez Gomez             Scheduled           $26.16    Paid pursuant to the Employee Benefits Order.
Karla Vanessa Mazariego        Scheduled           $69.96    Paid pursuant to the Employee Benefits Order.
La Regional Foodbank           Scheduled        $2,270.87    Paid pursuant to the Critical Vendor Order.
Landmark Healthplan            Scheduled          $406.74    Paid pursuant to the Employee Benefits Order.
Leticia Montes                 Scheduled           $28.65    Paid pursuant to the Employee Benefits Order.
Lincoln Nat'l Life Insurance   Scheduled          $904.06    Paid pursuant to the Employee Benefits Order.
Marcela Rivera                 Scheduled           $30.70    Paid pursuant to the Employee Benefits Order.
Maria Trujillo                 Scheduled          $135.00    Paid pursuant to the Employee Benefits Order.
Martha Coria                   Scheduled           $87.19    Paid pursuant to the Employee Benefits Order.
Mayra Guerrero                 Scheduled          $194.59    Paid pursuant to the Employee Benefits Order.
Michelle Hoaglin               Scheduled           $77.10    Paid pursuant to the Employee Benefits Order.
Nailya Kutzhahova              Scheduled           $36.82    Paid pursuant to the Employee Benefits Order.
Nancy Perez                    Scheduled        $3,700.00    Paid pursuant to the Critical Vendor Order.
Nancy Rivera                   Scheduled            $9.98    Paid pursuant to the Employee Benefits Order.
Natasha Medina                 Scheduled           $48.62    Paid pursuant to the Employee Benefits Order.
Nuvia Montes                   Scheduled           $76.33    Paid pursuant to the Employee Benefits Order.
Nina's Kitchen                 Scheduled        $3,542.50    Paid pursuant to the Employee Benefits Order.
Pasada (Pasadena) Hotel        Scheduled       $16,040.00    Paid pursuant to the Critical Vendor Order.
Pico Rivera Gardens            Scheduled        $1,014.00    Paid pursuant to the Critical Vendor Order.
Premier Access Insurance Co.   Scheduled       $13,648.50    Paid pursuant to the Employee Benefits Order.
Premier Access Insurance Co.   Scheduled        $2,309.40        Paid pursuant to the Employee Benefits Order.
Rocio Ojeda                    Scheduled           $59.04    Paid pursuant to the Employee Benefits Order.
Ruben Raya                     Scheduled           $55.28    Paid pursuant to the Employee Benefits Order.
Second Harvest Food Bank       Scheduled          $845.99    Paid pursuant to the Critical Vendor Order.
Sierra Inn                     Scheduled       $21,714.00    Paid pursuant to the Critical Vendor Order.
Teresa Cabral                  Scheduled          $600.00    Paid pursuant to the Critical Vendor Order.
Tibis House Inc.               Scheduled        $1,500.00    Paid pursuant to the Critical Vendor Order.
Transamerica                   Scheduled        $2,498.25    Paid pursuant to the Employee Benefits Order.
Victor Alanis                  Scheduled          $106.03    Paid pursuant to the Employee Benefits Order.



DOCS_LA:300278.3 12548/001                 Page 2 of Exhibit A
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 13 of 42
Case 8:16-bk-10424-SC   Doc 114
                            195 Filed 03/21/16
                                      08/25/16 Entered 03/21/16
                                                        08/25/16 18:16:29
                                                                 14:22:34   Desc
                         MainDocument
                         Main Document Page
                                          Page14
                                               1 of
                                                  of65
                                                     42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 15 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 16 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 17 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 18 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 19 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 20 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 21 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 22 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 23 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 24 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 25 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 26 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 27 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 28 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 29 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 30 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 31 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 32 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 33 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 34 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 35 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 36 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 37 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 38 of 42
Case 8:16-bk-10424-SC   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34   Desc
                         Main Document    Page 39 of 42
        Case 8:16-bk-10424-SC                   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                                      Desc
                                                 Main Document    Page 40 of 42

                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                         10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): FIRST OMNIBUS MOTION FOR ORDER
DISALLOWING CLAIMS THAT HAVE BEEN PAID OR OTHERWISE SATISFIED; MEMORANDUM OF POINTS AND
AUTHORITIES; DECLARATIONS OF JAMES HERNANDEZ AND LINDA F. CANTOR will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 25, 2016 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 25, 2016, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 25, 2016, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA OVERNIGHT MAIL
Honorable Scott C. Clarkson
U.S. Bankruptcy Court - Central District of California
Santa Ana Division
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 25, 2016              Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:300702.1 12548/001
         Case 8:16-bk-10424-SC                  Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                                      Desc
                                                 Main Document    Page 41 of 42

In re: California Hispanic Commission on Alcohol and Drug Abuse, Inc.
Case No. 8:16-bk-10424-SC

    1.     TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Bert Briones ecfmailonly@gmail.com, bb@redhilllawgroup.com
        Alberto J Campain campain@ecofflaw.com, kay@ecofflaw.com
        Linda F Cantor lcantor@pszjlaw.com, lcantor@pszjlaw.com
        Andy J Epstein taxcpaesq@gmail.com
        Nancy S Goldenberg nancy.goldenberg@usdoj.gov
        James C Harman james.harman@coco.ocgov.com, patti.owens@coco.ocgov.com
        Randall P Mroczynski randym@cookseylaw.com
        Victoria Newmark vnewmark@pszjlaw.com
        R G Pagter gibson@ppilawyers.com, ecf@ppilawyers.com
        Dean G Rallis drallis@afrct.com, msinclair@afrct.com;AFRCTECF@afrct.com;mpham@afrct.com
        Michael R Totaro Ocbkatty@aol.com
        United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
        John H Wunsch bankruptcycls@wellsfargo.com, wunschjh@wellsfargo.com

2. SERVED BY UNITED STATES MAIL:


 Office of U.S. Trustee                             Debtor                                             Request for Special Notice
 Nancy Goldenberg                                   California Hispanic Commission on                  John H. Wunsch (SBN 133853)
 411 West Fourth Street                             Drug and Alcohol Abuse                             OFFICE OF THE GENERAL COUNSEL
 Suite 7160                                         1419 21st Street                                   WELLS FARGO & COMPANY
 Santa Ana, CA 92701-8000                           Sacramento, CA 95811-5208                          21680 Gateway Center Drive, Suite 280
                                                                                                       Diamond Bar, California 91765-2435

                                                    Long Term Care Properties, Inc.                    Genesis Title Holding Corp.
                                                    7 Corporate Plaza                                  1419 21st Street
          20 Largest Creditors                      Newport Beach, CA 92660-7904                       Sacramento, CA 95811-5208


 Blue Shield of California                          American Express                                   American Express
 Attn. Nora Galicia                                 P.O. Box 981537                                    P.O. Box 0001
 4203 Town Center Dr.                               El Paso, TX 79998                                  Los Angeles, CA 90096
 El Dorado Hills, CA 95762-7100



 Non-Profit United Worker’s Comp.                   James Hernandez                                    Lewitt, Hackman, Shapiro, et al.
 610 Fulton Ave.,.#200                              Principal/Owner                                    16633 Ventura Blvd., #1100
 Sacramento, CA 95825-4867                          California Hispanic Commission on                  Encino, CA 91436-1870
                                                     Drug and Alcohol Abuse
                                                    1419 21st Street
                                                    Sacramento, CA 95811-5208


 Prosight Specialty Ins.                            Ford Motor Credit                                  Ford Credit
 P.O. Box 969                                       P.O. Box 54200                                     P.O. Box 7172
 Westbrook, CT 06498-0969                           Omaha, NE 68154-8000                               Pasadena, CA 91109-7171




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:300702.1 12548/001
        Case 8:16-bk-10424-SC                   Doc 195 Filed 08/25/16 Entered 08/25/16 14:22:34                                      Desc
                                                 Main Document    Page 42 of 42

 Home Depot Credit Services                         Clinivate                                          Premier Access Ins. Co.
 P.O. Box 183175                                    115 California Blvd., #156                         P.O. Box 39000
 Dept. 32-2149092011                                Pasadena,CA 91105-3005                             Dept. 34114
 Columbus, OH 43218-3175                                                                               San Francisco, CA 94139-0001



 Alliance Member Services                                                                              Abila
 P.O. Box 49050                                                                                        Dept. 3303
 San Jose, CA 95161-9050                                                                               P.O. Box 12303
                                                                                                       Dallas, TX 75312-0001



 JD Telecom                                         Coverall North America Inc.                        2010 Office Furniture
 31372 Mesa View Dr.                                2955 Momentum Pl.                                  2227 N. Merce Ave.
 Victorville, CA 92392                              Chicago, IL 60689-5329                             South El Monte, CA 91733-2622




 Toshiba Financial Services                         AT&T Mobility
 P.O. Box 31001-0271                                P.O. Box 6463
 Pasadena, CA 95110                                 Carol Stream, IL 60197-6463




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:300702.1 12548/001
